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UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT MAY 2 4 2019

FOR THE DISTRICT OF NEW MEXICO MITCHELL R. ELFERS

 

CLERK
UNITED STATES OF NEW MEXICO,
Plaintiff,
VS. No. CR 19- 00764 JB
RAYMOND BLAIR KOSIER and
TONIANN SANDOVAL,
Defendants.

ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR
EXTENSION OF TIME IN WHICH TO FILE MOTIONS AND
CONTINUANCE OF THE TRIAL OF JUNE 17, 2019

THIS MATTER coming before the Court on Defendants’ Unopposed Motion for
Extension of Time in Which to File Motions and Continuance of the Trial of June 17, 2019, the
Court having been sufficiently advised in the premises, FINDS that the ends of justice would be
served by granting this extension and that the period of delay resulting from such extension shall
be excludable from the time limitations set forth within 18 U.S.C. § 3161 (h)(7)(A).

IT IS HEREBY ORDERED that counsel for Defendants be granted an extension of

time in which to file motions in this matter until June 24, 2019, and continuance of the trial of

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June 17, 2019 to the Court’s September, 2019 trial calendar.

Approved:

Electronically filed May 7, 2019
Martin Lopez, III
Attorney for Defendant Sandoval
 

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Approved via e-mail May 6, 2019
Paul Mysliwiec
Assistant U. S. Attorney

Approved via e-mail May 6, 2019
Richard B. Pugh
Attorney for Defendant Kosier

 

 

After weighing the best interests of the public and of the Defendant with the ends of
justice, the Court finds that granting a continuance will strike a proper balance between
the ends of justice and the best interests of the public and of the Defendant for the
reasons stated in the motion requesting a continuance, filed May 7, 2019 (Doc. 29).
Specifically, the Defendants need to obtain discovery, outweighs the Defendants’ and
the public’s interest in a speedy trial. See 18 U.S.C. Section 3161(h)(7). The pretrial

 

 

 

motion deadline is 4 2014 The Court will) set the trial for
Sateolin. 3 ,RO\4 (trailing docket). This day continuance is
suffitient, without being greater than necessary, for the Defendant to complete the

tasks set forth in the motion to continue.

 

 

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